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    ~AO 245D (CASD) (Rev. 4/14)   Judgment in a Criminal Case for Revocations
               Sheet I



                                            UNITED STATES DISTRICT COURIfJ';L 24 ~.:) H: 55
                                                  SOUTHERN DISTRICT OF CALIFORNIA                                            ~-    c     ~      i
                                                                                                                            ~ ,"I., .. :_~    ~c !'



                  UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE                                  fxt
                                       v.                                        (For Revocation of Probation or Supervised Rele~~e1P y
                 JOSHUA LUCAS CARDONA (2)                                        (For Offenses Committed On or After November 1, 1987)


                                                                                 Case Number: llCR2933-DMS

                                                                                 David R Silldorf CIA
                                                                                 Defendant's Attorney
    REGISTRATION No. 27619298
D
    THE DEFENDANT:
    [£] admitted guilt to violation of allegation(s) No._l_an_d_2_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     o   was found in violation of allegation(s) No. _ _ _ _ _ _ _ _ _ _ _ _ _ _after denial of guilt.

    ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):


    Allegation Number              Nature of Violation
             1        Failure to report to USPO (US Probation Office) upon release from custody (nvS)
             2        Failure to comply with drug testing requirements




       Supervised Release      is revoked and the defendant is sentenced as provided in pages 2 through              2   of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and Umted States Attorney of any material change in the
    defendant's economic circumstances.

                                                                                 JULY 24, 2014
                                                                                 Date of Imposition of Sentence




                                                                                 HON. DANA M. SABRAW
                                                                                 UNITED STATES DISTRICT JUDGE




                                                                                                                                  11CR2933-DMS
         Case 3:11-cr-02933-DMS                         Document 71          Filed 07/24/14   PageID.172          Page 2 of 2

AO 245D (CASD) (Rev. 4114) Judgment in a Criminal Case for Revocations
           Sheet 2 - Imprisonment

                                                                                               Judgment - Page _....;;2_ of     2
 DEFENDANT: JOSHUA LUCAS CARDONA (2)
 CASE NUMBER: 11CR2933-DMS
                                                                  IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          EIGHT (8) MONTHS.




    o The court makes the following recommendations to the Bureau of Prisons:


     o The defendant is remanded to the custody ofthe United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
            Oat                                        Oa.m.         Op·m.    on
                as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before ---------------------------------------------------------------------------
        o as notified by the United States Marshal.
        o as notified by the Probation or Pretrial Services Office.
                                                                         RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                     to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                              UNITED STATES MARSHAL

                                                                             By ________________________________
                                                                                          DEPUTY UNITED STATES MARSHAL




                                                                                                                        11CR2933-DMS
